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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

Civil Action No. 21-cv-889

UNIVERSITY OF COLORADO HOSPITAL AUTHORITY,
a body corporate and political subdivision of the State of Colorado,

Plaintiff,
V.

KIDNEYLIFE FOUNDATION, INC. d/b/a NATIONAL KIDNEY REGISTRY,
a New York not-for-profit corporation,

Defendant.

 

COMPLAINT AND JURY DEMAND

 

Plaintiff, University of Colorado Hospital Authority, by and through counsel, for its
Complaint against defendant KidneyLife Foundation, Inc., doing business as National
Kidney Registry, states as follows:

PARTIES, JURISDICTION AND VENUE

1. Plaintiff, University of Colorado Hospital Authority (“UCH”), is a body
corporate and political subdivision of the State of Colorado that operates the University
Hospital.

2. UCH is a citizen of the State of Colorado with a principal place of business
of 12401 E. 17" Avenue, Aurora, Colorado.

3. UCH’s patient services include kidney transplant services.

4. Defendant KidneyLife Foundation, Inc., doing business as National Kidney

Registry (“NKR”), is a New York not-for-profit corporation that operates a national
registry listing kidney donors and recipients in need of a kidney transplant, specifically
including kidney donors and recipients from member transplant centers (“Member
Centers”) in Colorado, including Member Center UCH.

5. NKR is a citizen of the State of New York with a principal place of
business of 42 Fire Island Avenue, Babylon, New York.

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6. NKR’s operations in the State of Colorado include, but are not limited to:
enrolling Colorado Member Centers into the NKR program; performing computerized
matched runs for Colorado Member Center kidney donors and recipients to find paired
exchange matches; database management including storing and securing confidential
patient information of Colorado donors, recipients and Member Centers; coordinating
and facilitating kidney shipping into and out of the State of Colorado; facilitating kidney
transplants in the State of Colorado; facilitating pre-operative serology and COVID PCR
testing in the State of Colorado; and performing billing agent services on behalf of
Colorado Member Centers relating to kidney transplants in the State of Colorado.

7. This Court has jurisdiction over this civil action pursuant to 28 U.S.C. §
1332 as the amount in controversy exceeds $75,000 and the Colorado citizenship of
plaintiff UCH is different from the New York citizenship of defendant NKR.

8. Venue is proper in the United States District Court for the District of
Colorado pursuant to 28 U.S.C. § 1391(b)(2) and (3) because a substantial part of the
events or omissions giving rise to the claim occurred in this judicial District and because
defendant NKR is subject to the Court’s personal jurisdiction with respect to this action.

THE PARTIES’ AGREEMENTS AND AMENDMENTS

9. On or about December 3, 2015, UCH and NKR entered into that certain
Service Contract (the “Service Contract”), with an effective date of December 3, 2015,
pursuant to which UCH began enrolling participants into the NKR program and NKR
agreed to perform computerized match runs to find paired exchange matches and to
coordinate and facilitate kidney transplants for UCH patients.

10. On about December 3, 2015, UCH and NKR entered into that certain
Donor Center Agreement (the “Donor Center Agreement”), with an effective date of

December 3, 2015, in which UCH agreed to participate in paired exchanges organized
by NKR.

11. On or about December 3, 2015, UCH and NKR entered into that certain
Amendment (the “First Amendment”), with an effective date of December 3, 2015, in
which UCH and NKR agreed to modify the NKR Member Center Terms and Conditions
by amending the Service Contract.

12. On or about December 4, 2015, UCH and NKR entered into that certain
Recipient Center Agreement (the “Recipient Center Agreement”), in which UCH agreed
to participate in paired exchanges organized by NKR; and

13. On or about December 18, 2015, UCH and NKR entered into that certain

All In Addendum agreement (the “All In Addendum’), with an effective date of December
18, 2015, in which UCH agreed to participate in the NKR program as an “All In” Member

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Center pursuant to the definition of “All In” in Section | of the NKR Member Center
Terms & Conditions.

14. On or about October 17, 2016, UCH executed that certain Donor
Protection Addendum (the “Donor Protection Addendum’).

15. On or about September 1, 2017, UCH executed that certain Donor Care
Network Agreement (the “Donor Care Network Agreement”), with an effective date of
September 1, 2017, in which UCH agreed to be a Donor Care Network Center of
Excellence as defined and described in the Donor Care Network Terms and Conditions
document then posted on the NKR website login page.

16. Collectively, the Service Contract, the Donor Center Agreement, the
Recipient Center Agreement, the First Amendment, the All In Addendum, the Donor
Protection Addendum, and the Donor Care Network Agreement, are referred to herein
as the “Agreements.”

THE PARTIES’ DISPUTES

17. | UCH, in its capacity as a body corporate and political subdivision of the
State of Colorado, conducted a review of the Agreements to examine compliance with
applicable law governing NKR, UCH, and the Agreements, including, but not limited to
the following standard terms and conditions that UCH routinely requires of third party
vendors as a body corporate and political subdivision of the State of Colorado and as a
Colorado licensed and Medicare and Medicaid certified hospital (collectively “Applicable
Law”):

a. In accordance with 42 U.S.C. § 1395x(v)(1)(a)(i) and the
implementing regulations at 42 C.F.R. § 420.302(a) & (b), NKR’s
awareness of, and compliance with, NKR’s obligations to provide
access to the Department of Health and Human Services (“HHS”)
and the Comptroller General of the United States, to books,
documents and records as necessary to verify the nature and
extent of the costs of services furnished by NKR under the
Agreements;

b. NKR’s awareness of, and compliance with, the UCH Code of
Conduct implemented as part of UCH’s corporate compliance
program to meet the Office of Inspector General of the HHS
initiative encouraging health care providers to engage in efforts to
combat fraud and abuse in health care, and guidance from the
Colorado Department of Public Health and Environment;

c. NKR’s awareness of, and compliance with, NKR’s obligations with
respect to the treatment of certain confidential information,

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specifically including UCH patient information that meets the
definition of “protected health information” under 45 C.F.R. §
160.103;

d. NKR’s awareness of, and compliance with, NKR’s obligations as a
“Third-Party Service Provider,” as defined in C.R.S. §§ 6-1-713.5(5)
and 6-1-716(1)(i): (i) with respect to maintaining, storing and
processing “Personal Identifying Information,” as defined in C.R.S.
§ 6-1-713(2)(b), and/or “Personal Information, as defined in in
C.R.S. § 6-1-716(1)(g); (ii) with respect to implementing and
maintaining reasonable security procedures and practices to
protect Personal Identifying Information disclosed to NKR; and (iii)
with respect to NKR’s obligation to provide notice of a Security
Breach of Personal Information to UCH’s Privacy Officer in
accordance with C.R.S. § 6-1-716(2)(b);

e. NKR’s awareness of, and compliance with, NKR’s obligations to
represent and warrant to UCH that neither NKR, or any of its
parents, affiliates or subsidiaries: (i) are excluded from participation
under any federal health care program, as defined under 42 U.S.C.
§ 1320a-7b(f) (the “Federal Healthcare Program”) or any state
healthcare programs; (ii) have been convicted of a criminal offense
related to the provision of healthcare items or services but have not
yet been excluded, debarred, or otherwise declared ineligible to
participate in the Federal Healthcare Programs or any state
healthcare programs; (iii) are under investigation or otherwise
aware of any circumstances which may result in NKR _ being
excluded from participation in any Federal Healthcare Programs or
state healthcare programs; (iv) have been subject to or have
pending against them a final adverse action, as such term is
defined under 42 U.S.C. § 1320a-7e(g); (v) will use employees,
agents or contractors who are excluded from participation under
any Federal healthcare Programs or any state healthcare programs
in connection with products provided or services performed under
the Agreements;

f. NKR’s awareness and acknowledgement of UCH’s status as a
body corporate and political subdivision of the State of Colorado
subject to the Colorado Governmental Immunity Act (“CGIA”),
C.R.S. § 24-10-101, ef. seg., which includes provisions limiting
UCH’s liability in any action that lies in tort or could lie in tort, and
that nothing in the Agreements shall or may be construed or
interpreted as a waiver, either express or implied, of any of the

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immunities, rights, benefits or protections provided to UCH under
the CGIA;

g. NKR’s awareness of, and compliance with, NKR’s obligation to
refrain from discrimination in any unlawful manner and to abide by
the requirements of 41 C.F.R. §§ 60-1.4(a), 60-300.5(a) and
60.741.5(a), which regulations prohibit discrimination against
qualified individuals based on their status as protected veterans or
individuals with disabilities, prohibit discrimination against all
individuals based on their race, color, sex, sexual orientation,
gender identity or national origin, and require affirmative action to
employ and advance in employment individuals without regard to
race, color, religion, sex, national origin, sexual orientation, gender
identity, protected veteran status or disability;

h. NKR’s awareness of, and compliance with, NKR’s obligations as a
party to a Public Contract for Services, as defined by C.R.S. § 8-
17.5-101(6), with respect to employment or contracting of
undocumented immigrants to perform work under the Agreements;
and

i. NKR’s awareness of, and compliance with, NKR’s obligations with
respect to The Common Rule regulating human subjects research
as codified at 45 C.F.R. Part 46.

Assuring compliance with the Applicable Laws was one of the factors in UCH
presenting the Proposed Second Amendment (as defined in Paragraph 19).

18. | UCH also conducted a review of the Agreements to examine compliance
with the National Organ Transplant Act of 1984, Pub L. 98-507, 98 Stat. 2339-2348
(Oct. 19, 1984), as amended (“NOTA”).

a. Under NOTA, the Organ Procurement and Transplantation Network
(“OPTN”) was created to maintain a national registry for organ
matching. OPTN policies regulate living organ donation programs
such as that run by NKR. NOTA generally prohibits the sale of
organs. Specifically, NOTA provides, “It shall be unlawful for any
person to knowingly acquire, receive, or otherwise transfer any
human organ for valuable consideration for use in human
transplantation if the transfer affects interstate commerce.” 42
U.S.C. § 274e(a). NOTA contains an exception for “reasonable
payments associated with the removal, transportation, implantation,
processing, preservation, quality control, and storage of a human
organ or the expenses of travel, housing, and lost wages incurred

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by the donor of a human organ in connection with the donation of
the [paired donation] organ.” 42 U.S.C. § 274e(c)(2).

b. Additionally, as it relates to human organ paired donation, NOTA’s
general prohibition on the sale of organs does not apply, because
NOTA permits “valuable consideration” insofar as a kidney donor in
a chain started by NKR may also be promised a donated kidney
match back to a designated individual. 42 U.S.C. § 274e(c)(4)(E).
However, this limited exception for the return of a matched kidney
as it relates to “valuable consideration,” does not permit any person
or entity to profit from the sale of organs. 42 U.S.C. §
274e(c)(4)(F).

c. Under the Agreements, as an All In Member Center UCH is
required to pay NKR for various such reasonable payments
associated with the removal, _ transportation, implantation,
processing, preservation, quality control, and storage of a human
organ or the expenses of travel, housing, and lost wages incurred
by the donor of a human organ in connection with the paired
donation of the organ.

d. However, in addition, under its construction of Section 1.3. of the
NKR Terms and Conditions -- and by way of the “Invoice,” as
defined in Paragraph 29 below -- NKR now seeks to impose a
$1,000 per kidney per month penalty payment -- that survives the
Agreement in perpetuity -- for any “deficit” in kidneys at the time of
expiration or termination of the All In Addendum, with a deficit being
an elastic number calculated as the then-current difference
between the number of kidney donation chains the All In Member
Center has started minus the number of kidneys the All In Member
Center has received for transplantation, adjusted for kidneys still
owed to patients of the All In Member Center under NKR’s voucher
program, at the time of expiration or termination. This penalty, by
definition, bears no relationship to the costs associated with
facilitating paired organ donation and, if paid as demanded by NKR
and outlined in Paragraph 29, results in a payment to NKR that is
exactly the type of profiting on organs prohibited by NOTA.
Accordingly, NKR’s Invoice and enforcement of this provision
against UCH would be contrary to public policy as it is in violation of
NOTA.

e. UCH’s Proposed Second Amendment would have removed this
objectionable payment obligation under NOTA by reconciling any
kidneys that NKR alleges are “owed” to NKR under the Agreements

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through UCH agreeing to start eight (8) additional kidney chains in
the six (6) subsequent months, which would give it sufficient time to
meet NKR’s demand. The Proposed Second Amendment would
also transition UCH permanently out of NKR’s All In Member
Center model under Section |.3 of the NKR Member Center Terms
& Conditions (defined in Paragraph 21 below), which NKR
construes to subject All In Members who opt out to thousands of
dollars in monthly penalties “in perpetuity” in violation of NOTA’s
prohibition on the sale of human organs.

19. On January 27, 2021, Richard P. Church, Esq., outside counsel for UCH,
emailed to NKR the correspondence attached hereto and incorporated herein as Exhibit
1 (the “January 27, 2021 UCH Letter”), for the purpose of proposing a modification of
the Agreements to clarify and express the parties’ obligations to comply with the above
Applicable Law and for the purpose of proposing an agreement to mutually agree to
terminate UCH’s status as an All In Center. To document the specific proposed
changes to the Agreements necessary to accomplish these purposes, the January 27,
2021 UCH Letter enclosed a suggested draft Second Amendment to the Master
Services Agreement, in the form attached hereto and incorporated herein as Exhibit 2
(the “Proposed Second Amendment’).

20. On February 2, 2021, NKR’s outside counsel, Timothy Wan, Esq., emailed
to UCH’s outside counsel, Mr. Church, the correspondence attached hereto and
incorporated herein as Exhibit 3 (the “February 2, 2021 NKR Letter”), which stated that
NKR “will not negotiate” UCH’s proposed modification of the agreements to comply with
Applicable Law and wrongly characterized the January 27, 2021 UCH Letter and its
enclosed Proposed Second Amendment as a voluntary termination and cancellation by
UCH of the All In Addendum.

21. NKR’s mischaracterization of the January 27, 2021 UCH Letter as a
voluntary termination of the All In Addendum threatens to subject UCH to thousands of
dollars in monthly fees, “in perpetuity,” pursuant to Section 1.3 of the NKR Member
Center Terms & Conditions (the “NKR Member Center Terms and Conditions” are
attached to Exhibit 2 as Exhibit A, specifically at p. 23 of Exhibit 2), and as outlined
above in violation of NOTA.

22. Mr. Wan’s February 2, 2021 NKR Letter inquired as to whether UCH
would like to schedule an informal Dispute Resolution meeting under Section VII.10 of

the First Amendment (the First Amendment is attached hereto and incorporated herein
as Exhibit 4).

23. On February 17, 2021, UCH’s outside counsel, Mr. Church, and NKR’s
outside counsel, Mr. Wan, communicated by telephone to discuss UCH’s Proposed

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Second Amendment and NKR’s reaction to, and mischaracterization of, UCH’s
Proposed Second Amendment.

24. On February 18, 2021, February 20, 2021, and on February 22, 2021,
UCH’s outside counsel, Mr. Church, and NKR’s outside counsel, Mr. Wan, exchanged
the emails attached hereto and incorporated herein as Exhibit 5, in which UCH’s Mr.
Church confirmed that the January 27, 2021 UCH Letter enclosing UCH’s Proposed
Second Amendment “does not constitute a notice of termination.”

25. On March 3, 2021, UCH’s outside counsel, Mr. Church, emailed to NKR’s
Mr. Wan the correspondence attached hereto and incorporated herein as Exhibit 6 (the
“March 27, 2021 UCHealth Letter’), clarifying:

for the avoidance of doubt, my client has taken no action and expressed
no intent to unilaterally terminate its status as an All In Center. Instead,
UCHealth continues to identify non-directed donors and enter them into
the NKR database. As noted in my email of February 20, 2021, in this
regard, your client’s dissatisfaction with our initial proposal does not
transform the [January 27, 2021] UCH Letter into a_ termination,
particularly given the [January 27, 2021] UCH Letter does not state it
constitutes an immediate termination and when UCH has not acted
unilaterally against NKR. As such, any action by NKR taken against
UCHealth under the theory that the UCH Letter constituted a termination
notice mischaracterizes the UCH Letter and would be in breach of the
Agreement.

Exhibit 6 at p. 2.

26. The March 3, 2021 UCH Letter enclosed a revised proposed Second
Amendment for the purposes of facilitating negotiations of a mutually-acceptable written
modification addressing the parties’ obligations under Applicable Law and to support the
transition of UCH to a Member Center only. Specifically, UCH proposed that it would
initiate an additional eight (8) unpaired kidney exchanges to address the key contractual
issue raised by NKR through Mr. Wan in the February 17, 2021 call. Exhibit 6 at p. 3.

27. On March 8, 2021, NKR’s outside counsel, Mr. Wan, issued to Mr. Church
the email attached hereto and incorporated herein as Exhibit 7, stating: “rather than you
and | wasting time as intermediaries, | believe we need to trigger the Dispute Resolution
clause. Please advise of the dates and times of availability that [UCH’s] Mr. Gronow
can speak with [NKR’s] Mr. Hil.”

28. In response, on March 12, 2021, UCH’s outside counsel, Mr. Church,

emailed to NKR’s Mr. Wan the correspondence attached hereto and incorporated herein
as Exhibit 8, stating:

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University of Colorado Hospital Authority (“UCHealth”) is amenable to
proceeding with dispute resolution as requested by KidneyLife
Foundation, Inc. d/b/a National Kidney Registry (“NKR”). Pursuant to
Section VII.10 of the First Amendment to the Agreement [Exhibit 4 hereto
at p. 2] ..., UCHealth designates Thomas Gronow, Chief Operating
Officer, as the senior management representative who does not devote
substantially all of his time to the performance of the Service Contract.

As required by Section VII.10, we would propose March 31, 2021 as the
date for the parties to share non-privileged material with respect to the
dispute that is appropriate and germane along with position statements.
Please ensure that NKR explains its understanding of the contractual or
other legal dispute as UCHealth is not aware of what NKR believes to be
the dispute, position, and relevance of the materials provided to the same.
We anticipate that the Dispute Resolution meeting could then occur 10 to
14 days later to give each party adequate time to review the other party’s
non-privileged material and position statements.

29. Onor about March 17, 2021, UCH determined that on February 28, 2021,
NKR issued Invoice Number 21020015 (the “Invoice”) as if UCH was no longer an All In
Member Center, applying an unjustified penalty calculated based on UCH's “deficit” of
eight (8) unpaired kidney exchanges. Specifically, the Invoice includes a Center
Connectivity fee of $8,275. On or about March 17, 2021, NKR informed Denise
Harrington, UCH’s Director of Transplant Business that NKR increased the amount of
the Center Connectivity fee, which had previously been $275 per month, by the amount
of $8,000 per month, to the new amount of $8,275 per month in perpetuity, as result of
NKR’s unilateral action to apply Section I.3. against UCH.

30. | Upon information and belief, Mr. Hil, the founder, CEO, and one of only
three board members of NKR, has a personal financial interest in enforcing Section 1.3.
against UCH. Specifically, notwithstanding that NKR is organized as a nonprofit
corporation under New York law, in publicly filed IRS Form 990s for calendar year 2018
(the most recent date that is currently publicly available), which are attached hereto and
incorporated herein as Exhibit 9, NKR reported $9,927,288 in revenue and $9,507,230
in expense, of which $3,371,039 is paid to Hil & Co, LLC, in a series of related party
transactions. Accordingly, due to NKR’s self-dealing with Mr. Hil, more than one-third
(1/3) of NKR’s revenues and expenses actually inure to Mr. Hil’s personal private
benefit.

31. | UCH proposed three (3) specific dates and times for the parties and their
counsel to conduct the informal Dispute Resolution meeting under Section VII.10 of the
First Amendment (Exhibit 4 hereto) in a series of email exchanges between Mr. Church
and Mr. Wan from March 12, 2021 until March 25, 2021, attached hereto and
incorporated herein as Exhibit 10. Notwithstanding that nothing in the Dispute

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Resolution provision excludes attorneys from the process, NKR has failed and refused
to participate in the informal Dispute Resolution process, unreasonably maintaining
without support that “informal” means “not having attorneys present.” Ultimately, on
March 25, 2021, NKR’s outside counsel Mr. Wan stated: “If UCH is preventing [UCH’s]
Mr. Gronow from having an informal phone call with Mr. Hil, then, you have left us with
no choice but to maintain our position that UCH terminated the All-In Addendum, and
converted UCH to a regular Member Center.” Exhibit 10 at p. 1.

32. Thus, after demanding its application, NKR has failed and refused to
comply in good faith with the Dispute Resolution provisions in Section VII.10 of the First
Amendment to the Agreement. Further, NKR has taken unilateral action against and
begun invoicing UCH the amount of $8,000.00 per month as if it had in fact terminated
the All In Addendum notwithstanding the content of the January 27, 2021 UCH Letter,
UCH’s repeated statements that the January 27, 2021 UCH Letter did not constitute a
termination of the All In Addendum, and UCH’s continued good faith compliance the
terms of the Agreements.

33. | Accordingly, pursuant to Section VII.10 of the First Amendment to the
Agreement, UCH’s designated representative Mr. Gronow has reasonably and
justifiably “conclude[d] that resolution through continued negotiation does not appear
likely,” all conditions precedent to this civil action are satisfied, and this matter is now
ripe for determination by the Court.

FIRST CLAIM FOR RELIEF
(Declaratory Judgment Under 28 U.S.C. § 2201 and Fed.R.Civ.P. 57)

 

34. Plaintiff UCH incorporates the allegations set forth above as though fully
set forth herein.

35. Pursuant to 28 U.S.C. § 2201(a), this Court “[i]Jn a case of actual
controversy within its jurisdiction, . .. may declare the rights and other legal relations of
any interested party seeking such declaration, whether or not further relief is or could be
sought.”

36. Fed.R.Civ.P. Rule 57 provides: “These rules govern the procedure for
obtaining a declaratory judgment under 28 U.S.C. § 2201.”

37. A controversy exists between the parties arising out of the January 27,
2021 UCHealth Letter.

38. More particularly, UCH maintains that the language and purpose of the
January 27, 2021 UCH Letter was to propose a modification of the Agreements to clarify
and express the parties’ obligations to comply with the above Applicable Law and for
the purpose of proposing contract provisions to facilitate the transition of UCH away
from its All In status to a regular Member Center only. Further, UCH denies that the

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January 27, 2021 UCH Letter constituted a unilateral termination of the All In
Addendum. Instead, NKR’s assertion of unilateral termination was a bad faith response
to UCH’s reasonable request that NKR acknowledge the existence of, and agree to
comply with, the above Applicable Law.

39. NKR, as expressed in its February 2, 2021 NKR Letter, maintains that the
January 27, 2021 UCH Letter and its enclosed Proposed Second Amendment somehow
constituted a voluntary termination and cancellation by UCH of the All In Addendum.

40. NKR’s mischaracterization of the January 27, 2021 UCH Letter as a
voluntary termination threatens to subject UCH to thousands of dollars in monthly fees,
in perpetuity, pursuant to Section 1.3 of the NKR Member Center Terms & Conditions
(attached to Exhibit 2 as Exhibit A, specifically at p. 23 of Exhibit 2), which NKR has
begun charging as documented in the Revised February 28, 2021 Invoice.

41. UCH maintains that the provisions for perpetual monthly fees in Section
1.3 of the NKR Member Center Terms & Conditions are unconscionable, anti-
competitive and contrary to law, specifically NOTA, and therefore not enforceable.

42. UCH respectfully requests a declaration of the parties’ rights and
obligations under the Agreements pursuant to 28 U.S.C. § 2201(a). More specifically,
UCH requests that the Court declare as follows:

a. The January 27, 2021 UCH Letter did not constitute a unilateral
termination by UCH of the All In Addendum;

b. NKR’s mischaracterization of the January 27, 2021 UCH Letter as a
unilateral termination was a bad faith response to UCH'’s
reasonable request that NKR acknowledge the existence of, and
agree to comply with, the above Applicable Law;

c. UCH has the right to transition away from its All In status to a
regular Member Center only, without being subject to monthly fees,
in perpetuity, pursuant to Section |.3 of the Member Center Terms
& Conditions;

d. The provisions for perpetual monthly fees in Section 1.3 of the NKR
Member Center Terms & Conditions are unconscionable, anti-
competitive and contrary to law, specifically NOTA, and therefore
not enforceable; and

e. UCH as the prevailing party in this civil action is entitled to recover
all reasonable costs and expenses, including attorneys’ fees,
pursuant to First Amendment Section 5.

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SECOND CLAIM FOR RELIEF
(Breach of Contract)

43. Plaintiff UCH incorporates the allegations set forth above as though fully
set forth herein.

44. UCH and NKR are parties to the Agreements, as described above.

45. The parties have a duty to act in good faith in their performance of the
Agreements.

46. UCH has performed its obligations under the Agreements.

47. NKR breached the Agreements by altering its accounting of UCH’s NKR
transplant chains subsequent to the January 27, 2021 UCHealth Letter. NKR altered its
accounting of UCH’s NKR transplant chains in bad faith retaliation for the proposal
contained in UCH’s January 27, 2021 Letter that NKR acknowledge the existence of,
and agree to comply with, the above Applicable Law.

48. NKR breached its duty to act in good faith under the Agreements by
mischaracterizing the January 27, 2021 UCH Letter as a unilateral termination. This
mischaracterization was a bad faith response to UCH’s reasonable request that NKR
acknowledge the existence of, and agree to comply with, the above Applicable Law.

49. NKR’s breaches of the Agreements have caused and will continue to
cause UCH to suffer damages in an amount to be proved at trial.

PRAYER FOR RELIEF
WHEREFORE, UCH prays for the following relief:

1. A declaration of the parties’ rights and obligations under the
Agreements pursuant to 28 U.S.C. § 2201(a). More specifically, UCH requests
that the Court declare as follows:

a. The January 27, 2021 UCH Letter did not constitute a
unilateral termination by UCH of the All In Addendum;

b. NKR’s mischaracterization of the January 27, 2021 UCH
Letter as a unilateral termination was a bad faith response to UCH’s reasonable
request that NKR acknowledge the existence of, and agree to comply with, the
above Applicable Law;

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C. UCH has the right to transition away from its All In status to a
regular Member Center only, without being subject to monthly fees, in perpetuity,
pursuant to Section |.3 of the Member Center Terms & Conditions;

d. The provisions for perpetual monthly fees in Section 1.3 of
the NKR Member Center Terms & Conditions are unconscionable, anti-
competitive and contrary to law, specifically NOTA, and therefore not
enforceable; and

e. UCH as the prevailing party in this civil action is entitled to
recover all reasonable costs and expenses, including attorneys’ fees, pursuant to
First Amendment Section 5.

2. Direct, consequential, special, and liquidated damages;

3. Attorney fees and costs, including expert witness fees, pursuant to
Section 5 of the First Amendment, Exhibit 4 hereto;

4. Prejudgment and other interest as permitted by law; and

5. Such further relief as this Court deems just and proper.

PLAINTIFF REQUESTS A TRIAL TO A JURY ON ALL ISSUES SO TRIABLE.

Respectfully submitted this 26" day of March, 2021.

s/Stephen D. Gurr

Stephen D. Gurr

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